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                              In the Matter of:

                            VERONICA DAVIS

                                       vs.

                           CONN APPLIANCES



                              ARBITRATION

                                   Volume I
                                 January 17, 2006
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Arbitration

 ·1· · · · · · ·AMERICAN ARBITRATION ASSOCIATION
 · · ·_____________________________________________________
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 ·3· · VERONICA DAVIS,

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 ·5· · · · · · Claimant,

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 ·7· · vs.· · · · · · · · · · · · ·Case No.
 · · · · · · · · · · · · · · · · · 01-17-0006-8007
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 ·9· · CONN APPLIANCES, INC.,

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 11· · · · · · Respondent.
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 · ·    · · · · · · · · · · · ARBITRATION
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 · ·    · · · · · · · · · ·February 5, 2019
 15·    · · · · · · · · · · · · Volume I
 · ·    · · · · · · · · · · · (Pgs 1-198)
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 25· ·Reported By: Candace Covey, RMR, CRR, CVR-RM


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 ·1· ·already for you.· So whenever we make a statement,
 ·2· ·we're going to give you the case law.· And hopefully,
 ·3· ·Mr. Troutman makes a statement like initiated calls
 ·4· ·are different than calls made.· We have all the cases
 ·5· ·regarding that.
 ·6· · · · · · · ·THE ARBITRATOR:· Thank you.
 ·7· · · · · · · ·MR. TROUTMAN:· Thank you for taking a few
 ·8· ·minutes with us or actually, I guess, the whole day,
 ·9· ·Arbitrator.· This is a really important case for
 10· ·Conn's, and we appreciate your taking some time.
 11· · · · · ·I am absolutely honored to represent Conn
 12· ·Appliances, and they have here the head of compliance
 13· ·for Conn Appliances that you're going to get to hear
 14· ·from today.
 15· · · · · ·Now, the Claimant has already begun and will
 16· ·continue, as I suppose is their job, to cast scorn
 17· ·upon Conn Appliances, and I think he said they're the
 18· ·most prolific violator of the TCPA out there.· Well,
 19· ·it's quite literally Mr. Walton's job to make sure
 20· ·that that's not true.· And he's going to look you in
 21· ·the eye today and tell you everything he does to make
 22· ·sure that this very, very conservative
 23· ·compliance-oriented company complies with the law,
 24· ·including the TCPA.
 25· · · · · ·And you will learn that these claims about us


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